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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


      Brian Graves, Special Agent, Bureau of Alcohol, Tobacco, Firearms and

Explosives, being sworn, deposes and states the following:

      1.    I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms

and Explosives (“ATF”) and have been so employed since March of 2017. I am

currently assigned to the Chicago Group IV within the Chicago Field Division and

have been since July 2017. My responsibilities include, but are not limited to, the

investigation of Federal firearms and narcotics trafficking and firearm and

narcotics offenses, particularly those committed by criminal street gangs. I have

received special training in the enforcement of laws concerning firearms

trafficking, narcotics trafficking and gang activity. I have also been involved in

various types of electronic surveillance, search warrants and debriefing of

defendants, witnesses, and informants, as well as others who have knowledge of

the trafficking of firearms and narcotics. As part of my current assignment, I have

investigated criminal violations of the Gun Control Act to include Title 18, United

States Code, Sections 922 and 924.

      2.    Your affiant states the facts which establish the probable cause

necessary for issuance of the criminal complaint are either personally known to me

or have been told to me directly by other law enforcement officers with whom I

have worked with on this case.
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                    FACTS ESTABLISHING PROBABLE CAUSE

      3.    As a member of the ATF, I have been assigned to Operation Legend, a

federal investigation targeting violations of federal firearms laws in Chicago and

the Chicagoland area. I, and my group, have been tasked with the investigation

into persons who lie on ATF Form 4473 about their status as legal purchasers of

firearms. In the course of that investigation, a person identified as Cliff Derek

URBAN became a person of interest based on a large number of firearms that he

had purchased, with some of those firearms being recovered by law enforcement.

      4.    During the course of the investigation, it became apparent that Cliff

URBAN purchased a minimum of seven (7) firearms from August 2017 to March

2020, from Cabela’s, located in Hammond, Indiana, and Deb’s Gun Range, located

in Hammond, Indiana, all of which are Federal Firearm Licensed (FFL) gun

dealers. Three (3) firearms were recovered by law enforcement in Chicago, Illinois

106 days, 150 days, and 244 days after purchase. One (1) firearm was recovered in

Harvey, Illinois 58 days after being purchased.

      5.    A review of all ATF Form 4473 forms involved in the purchase of

firearms revealed that Cliff URBAN completed the forms on the corresponding

dates and locations:

Date of
Purchase          Location   City          Make           Model      Caliber
8/2/2017          Debs       Hammond, IN   Century Arms   AK63DS     7.62x39
                                           Glock          26         9mm
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1/27/2018         Debs       Hammond, IN   Glock          19        9mm
                                           Century Arms   Draco     7.62x39

10/3/2019         Cabela’s   Hammond, IN   Glock        43          9mm
                                           Smith&Wesson M&PShield   9mm

2/26/2020         Cabela’s   Hammond, IN   Smith&Wesson M&PShield   9mm




      6.    For each of the aforementioned firearm purchases, question number 2

of the ATF Form 4473 forms asked for Cliff URBAN’s current state of residence

and address. URBAN answered that his current state of residence and address

was 5255 Hohman Avenue, Hammond, Indiana.

     7.     On August 13, 2020, ATF Special Agents Brian Graves, and Grady

Murdock went to 5255 Hohman Avenue, Hammond, Indiana to interview Cliff

URBAN. Upon arriving to the address, agents observed that 5255 Hohman

Avenue, Hammond, Indiana was the Family Resource Center of Lake County.

Upon entering the facility, SA Graves spoke with Lakiesha Holman who is a

manager of the Family Resource Center of Lake County. Holman stated no one

lives at 5255 Hohman Avenue, Hammond, Indiana, and the address of the Lake

County Family Resource Center was used for mailing purposes only.

     8.     If Cliff URBAN would have answered truthfully to question number 2

on the ATF Form 4473 forms on August 2, 2017, January 27, 2018, October 3,

2019, and February 26, 2020, concerning his residence, the federally licensed
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firearm dealers would have denied the transaction by law due to URBAN not

having valid identification with his current and accurate address.

      9.    This warrant is being considered electronically via telephone or other

reliable electronic means, in accordance with Federal Rules of Criminal Procedure

41(d)(3) and 4.1. Furthermore, this affidavit has been electronically transmitted

verbatim to the judge.

                                    CONCLUSION

      10.   Based upon the information contained in this affidavit, probable cause

to believe that on August 2, 2017, January 27, 2018, October 3, 2019, and

February 26, 2020, in the Northern District of Indiana, Cliff URBAN
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violated Title 18, United States Code, Section 922(a)(6), Making a Material

False Statement in the Acquisition of a Firearm.



                       FURTHER AFFIANT SAYETH NAUGHT.



                       ____________________________________
                        ____________
                       Brian Graves
                       SPECIAL AGENT BUREAU OF ALCOHOL,
                       TOBACCO, FIREARMS AND EXPLOSIVES


     This affidavit and accompanying warrant have been transmitted to me

     electronically and the affiant has verbally attested to the truth and

     accuracy of the contents via telephone this 1st day of October, 2020.




                                  __ss/Andrew
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